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                          No. 23-20227


     IN THE UNITED STATES COURT OF APPEALS
             FOR THE FIFTH CIRCUIT


  UNITED STATES OF AMERICA, EX REL BUD CONYERS

                                        Plaintiffs,

                 UNITED STATES OF AMERICA,

                                        Intervenor-Appellant/Cross-Appellee,

                                  v.

                        BUD CONYERS,

                                        Plaintiff-Appellee/Cross-Appellant.


        On Appeal from the United States District Court
             for the Southern District of Texas


 RESPONSE/REPLY BRIEF FOR THE UNITED STATES


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                                 INTRODUCTION

      Relator’s attempt to recover a multi-million dollar share of a False Claims Act

(FCA) settlement resolving claims he did not bring fails at every turn. Relator does

not dispute that both he and the government dropped the qui tam claims he brought

in this case and that those claims were never substantiated. Relator does not dispute

that he played no role in litigating the separate claims that the government added to

the case and later settled. Nor does relator dispute that there is no evidence in the

record that he helped expose any fraud against the government.

      Relator nonetheless argues on cross-appeal that the government’s decision to

pursue its separate claims by intervening in his qui tam suit entitles him to a 15-to-25

percent share of the entire $13.6 million settlement. In relator’s view, the FCA

forbids courts from determining a relator’s share on a claim-by-claim basis, and the

district court accordingly erred by awarding him a smaller share based on the extent to

which the conduct covered by the settlement agreement purportedly overlapped with

his qui tam complaint. But every court of appeals to address the issue has held that

the statute limits relators to recovering a share of the proceeds of claims the relator

actually brought. The notion that a relator who does nothing to expose fraud against

the government can still recover millions of dollars from the public fisc solely because

the government initially intervened in the relator’s qui tam suit has no support in the

FCA’s text, purpose, or interpretative case law. This Court should therefore join its

sister circuits and hold that the FCA “allows relators to recover a percentage of the
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proceeds of the settlement of ‘the claim’ brought by the relators, and only that claim.”

Rille v. PricewaterhouseCoopers LLP, 803 F.3d 368, 374 (8th Cir. 2015) (en banc).

      Relator argues in the alternative that he is entitled to a share of the entire

settlement amount because he alleged each of the kickback claims settled by the

government. He did not. The settlement agreement resolved claims that specific

employees of defendant Kellogg, Brown & Root, Inc. (KBR) took kickbacks in

exchange for awarding inflated subcontracts to Kuwaiti subcontractors. In contrast,

relator’s complaint alleged that after certain subcontracts were awarded, other KBR

employees took kickbacks in exchange for billing the government for inoperable

vehicles. That both sets of allegations happen to involve kickbacks under the same

contract between KBR and the Army does not establish that the claims are the same.

Rather, a relator seeking to recover settlement proceeds must show that he alleged

“the FCA violations contemplated by the settlement agreement.” United States ex rel.

Bledsoe v. Community Health Sys., Inc., 342 F.3d 634, 651 (6th Cir. 2003). Relator has

failed to show that he alleged any of the FCA violations covered by the settlement

agreement and he is therefore entitled to neither a share of the entire settlement, as he

has argued on cross-appeal, nor the lesser amount awarded by the district court.

      Even if this Court finds that relator is entitled to some share of the settlement

proceeds, it should hold that the district court abused its discretion in awarding relator

the maximum percentage permitted under the FCA. The FCA authorizes a relator-

share award between 15 and 25 percent of the proceeds of the settled claim
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“depending upon the extent to which the person substantially contributed to the

prosecution of the action.” 31 U.S.C. § 3730(d)(1). But there is no evidence in the

record to substantiate relator’s allegations that he contributed to the government’s

recovery by reporting kickback activity to the Army and KBR during his service in

Iraq in 2003. Relator also concedes that he had no working partnership with the

government throughout this litigation, which further underscores that the claims the

government ultimately pursued and settled had nothing to do with him. The district

court thus abused its discretion by awarding relator the maximum percentage allowed

under the FCA.

       Relator also fails to identify any provision of the FCA authorizing relator to

recover attorney’s fees from the government. Relator does not dispute that the FCA

requires “[a]ll” of the relator’s fees to “be awarded against the defendant,” and expressly

exempts the government from liability for any expenses incurred by a relator. 31

U.S.C. § 3730(d)(1), (f) (emphasis added). Relator nonetheless argues that an award of

attorney’s fees against the government is authorized under 28 U.S.C. § 2412(b), a

provision of the Equal Access to Justice Act (EAJA) permitting fee awards against the

government where, inter alia, it has acted in bad faith. But relator did not raise this

argument below and the district court did not find that the government engaged in

any misconduct, let alone the sort of bad faith conduct that would permit a fee award

under EAJA.


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      Finally, relator’s attempt to relitigate the denial of his motion to dismiss by the

motions panel is unavailing. The government’s appeal is timely because the 60-day

window to appeal under Federal Rule of Appellate Procedure 4(a)(1)(B) ran from the

date of the district court’s order denying the government’s motion for

reconsideration. That motion was denied on March 16, 2023, and the government

timely filed its notice of appeal 60 days later on May 15, 2023.

                                    ARGUMENT

I.    Relator is not entitled to share in the settlement proceeds of claims
      he did not allege in his qui tam suit.

      Relator argues on cross-appeal that the FCA entitles him to share in the

proceeds of all claims settled by the government regardless of whether he alleged

those claims. Relator thus contends that he is entitled to 25 percent of the entire

$13.6 million settlement and that the district court erred by awarding him a smaller

$1.1 million share based on the extent to which the settlement purportedly overlapped

with his qui tam claims. But the False Claims Act “allows relators to recover a

percentage of the proceeds of the settlement of ‘the claim’ brought by the relators,

and only that claim.” Rille v. PricewaterhouseCoopers LLP, 803 F.3d 368, 374 (8th Cir.

2015) (en banc) (quoting 31 U.S.C. § 3730(d)(1)). Relator’s argument to the contrary

has no support in the statute’s text or history and has been rejected by every court of

appeals to consider the issue.




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       A. Relator is wrong that his interpretation of the FCA as allowing relators to

share in the proceeds of claims they did not allege is “widely recognized in the case

law.” Relator Br. 36 (Br). We are unaware of any case standing for such a

proposition and the cases relator cites expressly reject this view. For example, relator

quotes United States ex rel. Bryant v. Community Health Systems, Inc., 24 F.4th 1024 (6th

Cir. 2022), which states that “the FCA allows for the recovery of a share of

government proceeds if the government successfully litigates or settles a claim that the

relator originally brought.” Br. 36 (emphasis added) (quoting Bryant, 24 F.4th at 1030).

Relator also cites United States ex rel. McGuire v. Millenium Laboratories, Inc., 923 F.3d 240

(1st Cir. 2019), which likewise states that “[a] relator seeking recovery must establish

that there exists an overlap between Relator’s allegations and the conduct discussed in

the settlement agreement,” id. at 252 (alteration omitted) (quoting Rille, 803 F.3d at

373). These decisions are in accord with the en banc Eighth Circuit’s holding in Rille

that relators may only recover the proceeds of claims that they brought. Rille, 803

F.3d at 374.1


       1
         Relator asserts (at 42 n. 49) that Rille’s holding that relators must establish
factual overlap to share in any settlement proceeds “disregarded its own precedent”
from Roberts v. Accenture, LLP, 707 F.3d 1011 (8th Cir. 2013). But Roberts did not
adopt relator’s view that the government’s intervention in a qui tam suit automatically
entitles a relator to a share of settlement proceeds. Rather, as the en banc Eighth
Circuit explained in Rille, the Roberts panel held that the relator’s allegations must be
“related” to the conduct settled by the government and that “a causal connection
between the relator’s claim and a later settlement is sufficient.” Rille, 803 F.3d at 374
(quoting Roberts, 707 F.3d at 1017). Rille rejected this “catalyst” theory of recovery as
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       B. Relator likewise errs in arguing (at 32-33) that the text of the FCA compels

the conclusion that relators are entitled to share in the proceeds of claims they did not

bring. Section 3730(d)(1) provides that if the Government “proceeds with an action

brought by a [relator] under subsection (b)” the relator is entitled to “receive at least

15 percent . . . of the proceeds of the action or settlement of the claim.” 31 U.S.C. §

3730(d)(1). Relator contends that the phrase “proceeds of the action” means the

proceeds of the case as a whole, rather than the proceeds of a claim brought by the

relator. But it is a “well-established interpretation of the FCA” that section 3730 uses

the words “claim” and “action” interchangeably to refer to an individual claim in a

multi-claim action. United States ex rel. Lovell v. AthenaHealth, Inc., 56 F.4th 152, 159-60

(1st Cir. 2022) (quotation marks omitted). As then-Judge Alito explained, “the

draftsmanship of the [FCA] has its quirks,” one of which is that “the statute is based

on the model of a single-claim complaint” even though many qui tam actions now

involve multiple claims. United States ex rel. Merena v. SmithKline Beecham Corp., 205 F.3d

97, 101 (3d Cir. 2000); see also United States ex rel. Shumann v. Astrazeneca Pharms, L.P.,

769 F.3d 837, 846 (3d Cir. 2014) (“[The] FCA’s reference to ‘action’ may reasonably

be read to mean ‘claim’ because the statute envisions a single-claim complaint[.]”).

For this reason, “the relators’ share of the proceeds must be based on a claim-by-

“not derived from the statute.” Id. And the en banc decision in Rille supersedes any
contrary holding or analysis in Roberts. See United States v. Powell, 78 F.4th 203, 208 (5th
Cir. 2023) (noting that a court of appeals sitting en banc may overrule a prior panel
decision).

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claim analysis.” Merena, 205 F.3d at 106. The most natural reading of section

3730(d)(1) is thus that it allows the relator to share in the proceeds of a claim

“brought by” the relator under section 3730(b). See Rille, 803 F.3d at 372.

       This reading is consistent with how this Court and its sister circuits construe

the word “action” elsewhere in section 3730. For example, the FCA’s “first-to-file

rule” states than when a relator “brings an action,” no other relator “may intervene or

bring a related action based on the facts underlying the pending action.” 31

U.S.C. § 3730(b)(5). But when a later-filed complaint contains multiple claims, only

some of which are based on the earlier-filed complaint, courts do not dismiss the

entire action and instead “conduct a claim-by-claim analysis in order to determine if

section 3730(b)(5) applies.” Merena, 205 F.3d at 102; see, e.g., United States ex rel. Branch

Consultants v. Allstate Ins. Co., 560 F.3d 371, 380 (5th Cir. 2009) (applying a claim-by-

claim analysis and dismissing some but not all of the relator’s claims under the first-

to-file bar); Millenium Labs., 923 F.3d at 253 (same). And while section 3730(c) allows

the government to “proceed[ ] with the action” or “dismiss the action,” it is well

settled that the government may partially intervene to pursue certain claims in a multi-

claim qui tam action. See, e.g., Federal Recovery Servs., Inc. v. United States, 72 F.3d 447,

449 n.1 (5th Cir. 1995). Other examples abound. See, e.g., Lovell, 56 F.4th at 159-60

(holding that “government intervention in an ‘action’ under § 3730(d)(1) means

government intervention in an individual claim”); Merena, 205 F.3d at 102


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(government may settle some but not all of relator’s claims notwithstanding language

in § 3730(c)(2) authorizing it to “settle the action”).

       Relator’s interpretation of section 3730 is also inconsistent with the statutory

scheme. When the government seeks to pursue a new FCA claim, it can either add

that claim to an existing action brought by a relator, or it can pursue the new claim

through an alternate remedy. If the government pursues its new claim through an

alternate remedy, “the person initiating the action shall have the same rights” in the

alternate proceeding “as such person would have had” if the government had

proceeded with the original action. 31 U.S.C. § 3730(c)(5). This means that “the

relator has a right to recover a share of the proceeds of the alternate remedy to the

same degree that he or she would have been entitled to a share of the proceeds of an

FCA action.” Rille, 803 F.3d at 373 (quoting United States ex rel. Barajas v. United States,

258 F.3d 1004, 1010 (9th Cir. 2001)); see United States ex rel. Hefner v. Hackensack Univ.

Med. Ctr., 495 F.3d 103, 112 (3d. Cir. 2007) (same).

       But a relator is not entitled to share in the government’s recovery from an

alternate proceeding just because the government’s claim could have been added to the

relator’s qui tam suit. Instead, such a relator must establish that “there exists an[ ]

overlap between [the] Relator’s allegations and the conduct discussed in the settlement

agreement.” United States ex rel. Bledsoe v. Community Health Sys., Inc., 342 F.3d 634, 651

(6th Cir. 2003). “Given the equivalence of recovery required by § 3730(c)(5) and

§ 3730(d),” the relator must therefore also establish factual overlap in a case where, as
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here, the government adds its new claims to the relator’s suit. Rille, 803 F.3d at 373;

see United States ex rel. Babalola v. Sharma, 746 F.3d 157, 161(5th Cir. 2014) (interpreting

the FCA and stating that “the statute must be read as a whole in order to ascertain the

meaning of the language in context of the desire goals envisioned by Congress”

(quotation marks omitted)). In short, relator’s view that he is entitled to share in the

proceeds from a claim he did not bring is flatly inconsistent with the claim-by-claim

analysis routinely employed under the FCA’s qui tam provisions.

       C. Relator’s reliance on legislative history (at 34) is likewise unavailing. Relator

notes that one of the statute’s drafters explained that a relator “is guaranteed a

minimum of 15% of the total recovery even if that person does nothing more than

file the action in federal court.” Id. (emphasis added) (quoting 132 Cong. Rec. H 9388

(daily ed. Oct. 7, 1986)). As discussed above, however, Congress drafted the FCA

“based on the model of a single-claim complaint.” Merena, 205 F.3d at 101. The

excerpted legislative history does not address a relator’s right to recover settlement

proceeds in a multi-claim suit when the proceeds arise from a claim not brought by

the relator. That is clear from the very next sentence, which describes the “minimum

of 15%” as a “finder’s fee” that is “provided to develop incentives for people to bring

the information forward.” Br. 34 (quoting 132 Cong. Rec. H9388). A “finder’s fee”

depends on the relator finding something of value. But in relator’s view, a relator

could “find” nothing that contributed to the government’s recovery and still recover

from the public fisc if the government added its separate claims to the relator’s suit.
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Nothing in the legislative history suggests that Congress intended for relators to

recover under such circumstances.2 As this Court has already observed, “[t]he statute

evinces no intent to compensate relators who bring unfounded [qui tam] claims,

whether the claims are legally or factually unfounded.” United States ex rel. Adrian v.

Regents of Univ. of Cal., 337 F. App’x 379, 381 (5th Cir. 2009) (per curiam) (citing

Hefner, 495 F. 3d at 112).

       That some courts have described the relator’s share as a “finder’s fee” or a

“bounty” accordingly does nothing to advance relator’s argument. Br. 35 (emphases

omitted) (first citing Vermont Agency of Nat. Res. v. United States ex rel. Stevens, 529 U.S.

765 (2000); and then citing Sharma, 746 F.3d at 164-67 (Dennis, J., concurring)).

While Judge Dennis’s concurrence in Sharma indeed uses the term “bounty” to

describe a relator’s share in the context of an alternate remedy, it made clear that such

a share depends on the relator alleging the facts that formed the basis of the

government’s recovery. Sharma, 746 F.3d at 165 (Dennis, J., concurring) (“The

purpose of § 3730(c)(5) is to ensure that a relator who has filed a valid qui tam

complaint is not deprived of the bounty prescribed by the statute if the government


       2
         Relator also quotes (at 37-38) similar language from the Department of
Justice’s (DOJ) relator share guidelines, which is based on the legislative history. See
DOJ Relator’s Share Guidelines, 11 False Claims Act & Qui Tam Q. Rev. 17, 17
(1997) (“The legislative history suggests that the 15 percent should be viewed as the
minimum award—a finder’s fee—and the starting point for a determination of the
proper award.”). For the same reasons, that language does not advance relator’s
argument.

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subsequently decides to seek an alternate remedy for the same fraudulent acts.”) (alteration

omitted) (emphasis added) (quotation marks omitted). And the Supreme Court in

Stevens merely held that a qui tam relator has Article III standing to bring an FCA

claim on behalf of the United States. Stevens, 529 U.S. at 774-75. The Court explained

that claims brought by a relator are assigned to the relator from the government by

statute, and that “the assignee of a claim has standing to assert the injury in fact

suffered by the assignor.” Id. at 773. Nothing in Stevens supports relator’s

extraordinary contention that the statute assigns to the relator a claim that he did not

bring in the first place.

       D. Relator asserts (at 43-44) in conclusory fashion that it is “unworkable” for

courts to apply a factual overlap test. But courts already apply this test in determining

a relator’s right to recover settlement proceeds when the government pursues an

alternate remedy. See supra pp. 8-9; Bledsoe, 342 F.3d at 651. And this Court has

approved of similar fact-bound inquiries under the FCA in other contexts. See, e.g.,

United States ex rel. Schweizer v. Canon, Inc., 9 F.4th 269, 275 (5th Cir. 2021) (applying the

FCA’s public disclosure bar by, inter alia, determining whether the relator’s action “is

based upon . . . publicly disclosed allegations” (quotation marks omitted)); Branch

Consultants, 560 F.3d at 377 (applying the FCA’s first-to-file bar by determining

whether “a later allegation states all the essential facts of a previously-filed claim”

(quoting United States ex rel. LaCorte v. SmithKline Beecham Clinical Labs., Inc., 149 F.3d

227, 232 (3d Cir. 1998))).
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       Relator’s reading of the relator-share provision would create practical problems

of its own. The FCA, as discussed, authorizes the government to “add any additional

claims with respect to which the Government contends it is entitled to relief” when it

intervenes in a relator’s qui tam suit. 31 U.S.C. § 3731(c). If this Court holds that a

relator is automatically entitled to share in the proceeds of such additional claims

regardless of whether they overlap with the relator’s allegations, the government will

be more likely to bring such new claims in a separate lawsuit leading to the inefficient

piecemeal litigation that Congress sought to avoid in enacting section 3731(c). This

Court should therefore reject relator’s interpretation and adhere to the unanimous

view shared by its sister circuits that a relator may only recover a share of the

settlement proceeds from a claim he actually brought.

II.    The government did not settle any of the claims relator alleged.

       Relator argues in the alternative that he is entitled to 25% of the entire

settlement amount because his qui tam claims overlap with the kickback claims

covered by the settlement agreement. That is incorrect. There is no factual overlap

between relator’s claims and any of the settled claims, and relator is therefore not

entitled to any share of the settlement proceeds.

       A. Relator first asserts (at 40, 42 (quoting ROA.34930)) that the district court

“made the factual finding” that the government settled relator’s claims involving

“kickbacks for trucks and trailers.” Not so. Courts must determine whether the

government settled the relator’s claim by assessing whether “the conduct
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contemplated in the settlement agreement . . . overlap[s] with the conduct alleged in

[the] Relator’s complaint.” Rille, 803 F.3d at 373-74 (alterations in original) (quoting

Bledsoe, 342 F.3d at 651). The district court found that the settlement agreement

“does not explicitly include the conduct that Mr. Conyers alleged,” ROA.24929

(emphasis added), and that should have ended the matter. But the court nonetheless

held that the details of relator’s allegations are “inconsequential” because the statute

allows the relator to recover if the relator “put the government on notice . . . and

arguably impelled and/or focused its investigation into [the settled] conduct.”

ROA.24931. The en banc Eighth Circuit rejected this interpretation of the FCA in

Rille, explaining that the view that a relator can recover settlement proceeds if relator

was “the catalyst leading to the [G]overnment’s settlement” is “not derived from the

statute” and is insufficient to show factual overlap. Rille, 803 F.3d at 374 (quotation

marks omitted). And as we explained in our opening brief (at 23), there is no

evidence that relator was a “catalyst” for the government’s recovery in any event.

       B. Relator further argues (at 41, 42 n.47) that each of the claims in the

settlement agreement overlap with his qui tam complaint because they involved KBR

employees taking kickbacks from subcontractors under KBR’s contract with the

Army. But a comparison of claims at such a high level of generality is insufficient to

show factual overlap. The Sixth Circuit’s analysis in Bledsoe illustrates this point. The

relator in Bledsoe brought a qui tam FCA suit alleging that several hospitals defrauded

Medicare through “upcoding”—i.e., “the practice of billing Medicare for medical
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services or equipment designated under a code that is more expensive than what a

patient actually needed or was provided.” Bledsoe, 342 F.3d at 637 n.3. The

government later settled with the defendant hospitals and the relator moved for a

share of the proceeds. The conduct described in the settlement agreement “pertained

to Defendants’ practice of submitting to Medicare . . . claims with improper

diagnostically related group . . . coding” for inpatient admissions, “while Relator’s

complaint, on the other hand, discussed other types of improper coding,” id. at 650,

such as “upcoding of contract services and disposable equipment,” id. at 638. The

Sixth Circuit held that relator could not establish factual overlap through “broad”

allegations that the defendant hospitals generally “engaged in miscoding and upcoding

items billed to Medicare and Medicaid.” Id. at 650 (quotation marks omitted).

Instead, the relator had to “provide more concrete evidence” that he alleged “the

FCA violations contemplated by the settlement agreement.” Id. at 651.

      Relator did not allege the FCA violations addressed by the settlement

agreement. The claims in the settlement agreement concerning kickbacks for vehicles

have nothing to do with the allegations in relator’s qui tam complaint. The settlement

agreement resolved claims that KBR employee Anthony Martin took kickbacks in

exchange for awarding two inflated subcontracts for vehicles to a Kuwaiti

subcontractor. ROA.24625. In contrast, relator alleged that after certain unidentified

subcontracts were awarded, KBR employee Willie Dawson took kickbacks in

exchange for accepting the delivery of vehicles that were “inoperable” while another
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KBR employee, Rob Nuble, “charged the Army for more trucks than were really

delivered to Camp Anaconda.” ROA.81. And contrary to relator’s arguments (at 9,

14, 24, 27), relator’s complaint did not allege a “pervasive kickback scheme” that

could arguably cover the kickbacks-for-subcontracts schemes settled by the

government. Relator’s complaint instead alleged a specific scheme in which KBR

employees billed the government for vehicles that were either defective or never

delivered. ROA.80-81. Relator does not dispute that those allegations were not

included in the settlement agreement and were never substantiated.

      Relator’s argument (at 42 n. 47) that there is factual overlap between his qui

tam complaint and the settled claims concerning KBR employees Stephen Seamans

and Jeff Mazon is even more farfetched. The settlement agreement addressed claims

that Seamans and Mazon took kickbacks in exchange for awarding subcontracts for

cleaning services and fuel tankers, respectively. ROA.24624-25. Relator’s complaint

did not mention Seamans and Mazon. Nor did it contain any allegations regarding

cleaning services or fuel tankers or any related subcontracts. Relator does not argue

otherwise.

      Relator could not recover a share of the proceeds from the settlement of the

claims involving Mazon and Seamans even if he had alleged them. “[R]elators are not

entitled to any share of the settlement attributable to claims that would have been

subject to dismissal under [the FCA’s public disclosure bar] prior to the government’s

intervention.” Merena, 205 F.3d at 106. The public disclosure bar requires the Court
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to dismiss a qui tam suit “based on public[ly] available information” unless “the

relator is an original source of the information.” United States ex rel. Colquitt v. Abbott

Labs., 858 F.3d 365, 373 (5th Cir. 2017) (quoting United States ex rel. Jamison v. McKesson

Corp., 649 F.3d 322, 327 (5th Cir. 2011) (citing 31 U.S.C. § 3730(e)(4)). If the public

disclosure bar applies, “it [is] [the r]elator’s burden to show that they qualified under

the original source exception.” United States ex rel. King v. Solvay Pharm., Inc., 871 F.3d

318, 325 (5th Cir. 2017) (per curiam).

       There is no dispute that the allegations involving Seamans and Mazon were

publicly disclosed before relator filed suit. By the time relator filed suit in December

2006, the government had commenced criminal proceedings against both Mazon and

Seamans. See ROA.24429-44, 24477 (public court filings from Mazon and Seamans

criminal cases predating relator’s suit); Gov’t Br. 4. And there is no evidence in the

record that relator could have qualified as an “original source” if he had brought those

claims. Relator argued below that the allegations in the complaint suffice to show that

he was an original source because he was “talking about the horrors of what he

experienced, personally.” ROA.25036. But allegations in a complaint are not

competent evidence. See RSR Corp. v. International Ins. Co., 612 F.3d 851, 857 (5th Cir.

2010). And in any event, the complaint does not contain any allegations regarding

Mazon and Seamans, much less that relator “experienced” their misconduct

“personally.” Indeed, relator could not have “experienced” the misconduct involving


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Mazon and Seamans because it occurred before relator’s service in Iraq. See

ROA.4788-89, 25067; Gov’t Br. 23.

       C. Relator also suggests (at 16-17, 44) that the government needed its

allegations to overlap with those in relator’s complaint to avoid any statute of

limitations defenses. Relator is mistaken. The government entered into a series of

tolling agreements with KBR, pursuant to which “the Government’s FCA . . . claims

[were] not time-barred, to the extent those claims accrued after May 9, 2004.”

ROA.18546-47. The claims that KBR and the government later settled were not

time-barred because KBR submitted false claims under the relevant subcontracts after

that date, even though the kickback conduct that rendered those claims false occurred

earlier. See, e.g., ROA.18548. As relator acknowledges (at 17 n.21), the government

did not rely on relator’s allegations or any “relation-back” theory in opposing KBR’s

statute of limitations defenses.

       D. Finally, there is no merit to relator’s argument (at 44) that a factual overlap

inquiry is unnecessary because the settlement agreement “released not only

Government claims, but certain claims by [relator] as well.” While relator does not

specify which of his claims were purportedly released, he cites to a paragraph in the

settlement agreement addressing relator’s personal claims against KBR. See

ROA.24629-30. Relator brought personal claims against KBR for retaliation and

breach of contract arising from his alleged unlawful termination. ROA.100-02. But

the settlement agreement expressly states that it does not release KBR from either
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claim. ROA.24629-30. To the extent relator asserts that the settlement agreement

released KBR from the qui tam claims in his complaint, he is mistaken. The

settlement agreement, to which relator was a signatory, expressly states that

“[n]otwithstanding . . . any other term of this Agreement,” KBR is not released from

“[a]ny liability to the United States (or its agencies) for any conduct other than the

Covered Conduct.” ROA.24628. Relator’s qui tam claims are, by definition, claims

under which the defendant “is liable to the United States government.” 31 U.S.C.

§ 3729(a)(1); see 31 U.S.C. § 3730(b)(1) (relator may bring “a civil action for a violation

of section 3729”).

III.   The district court abused its discretion in awarding relator the
       maximum percentage allowed under the statute.

       As we explained in our opening brief (at 27-29), there is no evidence in the

record supporting the district court’s primary basis for awarding relator the maximum

amount allowed under the FCA: that relator purportedly reported the relevant

allegations in his complaint to the Army in 2003. ROA.24931. Relator does not

dispute this point. Despite “bear[ing] the burden of proving that [his] contribution

warrants up to 25% of the settlement,” Zediker v. OrthoGeorgia, 857 F. App’x 600, 604

(11th Cir. 2021) (per curiam), relator provided no evidence that he filed such a report.

And the only record evidence on the issue refutes relator’s shifting explanations for

his failure to do so. Gov’t Br. 23-24; see ROA.24973, 25752 (sworn declarations from

the Army’s Criminal Investigative Division (CID) and KBR asserting that they had no

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record of any reports filed by relator); see also ROA.25070 (declaration from then-

Army CID agent refuting relator’s claim that Army CID admitted it “lost” the report).

The district court thus abused its discretion by awarding relator the maximum

percentage allowed under the FCA. See Klick v. Cenikor Found., 79 F.4th 433, 439 (5th

Cir. 2023) (“A district court abuses its discretion . . . on an erroneous view of the law

or on a clearly erroneous assessment of the evidence.” (quotation marks omitted)).

      Relator also admits that he had no working partnership with the government

“[a]fter the case was unsealed, and right up to the settlement on the eve of trial.” Br.

47. That is because relator had no knowledge of the government’s claims,

ROA.24401-02, and both relator and the government had decided not to pursue

relator’s claims early in discovery, ROA.3491-94. Indeed, relator did not sit for a

deposition or otherwise participate in discovery, and the government did not use any

information provided by relator in prosecuting the action. Gov’t Br. 28-29. And

contrary to relator’s argument (at 47), the lack of a working partnership between

relator and the government is a basis for “decreas[ing] the percentage,” not increasing

it. Zediker, 857 F. App’x at 605.

      Relator, moreover, does not dispute that the “multiple meetings and phone

calls” cited by the district court made no contribution to the government’s recovery.

ROA.24931. By the time relator first met with the government, Martin had already

confessed his kickback schemes to federal investigators and entered into a


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cooperation agreement with the government. ROA.24487, 24512; see Gov’t Br. 28.3

And the information that relator provided to the government pertained to a separate

kickback scheme that neither the government nor relator ultimately elected to pursue.

See Zediker, 857 F. App’x at 606 (minimum 15 percent share warranted when relator’s

assistance largely pertained to “claims for which the Government had already stated it

was not intervening” (quotation marks omitted)).

      The remaining arguments relator advances in support of the district court’s

decision to award the maximum 25 percent share permitted under the FCA all lack

merit. For example, the district court did not find “that the Government had waived”

any argument on the relator share amount. Br. 46. While the court noted that the

government “did not argue for an alternative percentage, other than zero,”

ROA.24931, it did not hold that the government waived the issue. Nor could it have.

The FCA requires the amount to be based “upon the extent to which the person

substantially contributed to the prosecution of the action,” 31 U.S.C. § 3730(d)(1), and

the government argued to the district court that relator failed to “offer any meaningful

assistance” and explained that “Relator and his counsel lacked familiarity with the

Government’s ‘additional claims.’” See ROA.24401-02.


      3
         Our opening brief also noted (at 28) that Martin had pleaded guilty prior to
relator’s initial meeting with investigators on March 22, 2007. While Martin agreed to
cooperate with the government prior to that initial meeting, see ROA.24512, he did
not enter a guilty plea until July 13, 2007. See Plea Agreement, United States v. Martin,
No. 4:07-cr-40042-JBM-JAG (July 13, 2007).

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       Relator next asserts without explanation that “[t]he 25% percentage is

mandated by the three ‘Senate factors’” and “DOJ’s own ‘guidelines.’” Br. 47.

Neither the “Senate factors” nor the government’s guidelines mandate a maximum

award under any circumstances, much less those present here. The “Senate factors”

state only that courts should calculate an award amount based on “(1) the significance

of the information provided to the government by the qui tam plaintiff, (2) the

contribution of the qui tam plaintiff to the result, and (3) whether the information

provided by the relator was previously known to the government.” Zediker, 857 F.

App’x. at 604-05 (citing S. Rep. No. 99-345, at 28 (1986)). The government’s

guidelines likewise list various factors that should result in an increase in the relator

share amount above 15 percent, including the assistance provided by relator and

relator’s counsel through the proceedings. Id. As discussed, these factors do not

support the district court’s decision to award relator the maximum percentage allowed

under the FCA. See Gov’t Br. 25-30.

       Relator also asserts that the district court “took note of [relator’s] central

importance” to the case “at length” in a ruling that “was [n]ever rebutted by the

Government.” Br. 18-20. But the “ruling” relator quotes is the background section

of an omnibus order resolving various motions filed at the pleading stage, before both

the government and relator dropped relator’s claims. See ROA.819. The order merely

summarized the allegations in the case and did not purport to credit any of them. See

ROA.819. The district court’s summary judgment opinion, on the other hand,
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discusses at length the claims that the government ultimately pursued in the case and

makes no mention of relator or his allegations apart from an initial footnote noting

the date on which the qui tam suit was filed. ROA.18539 n.1.

       Finally, there is no merit to relator’s contention that the government’s

opposition to relator’s motion for a share of settlement proceeds “militates strongly in

favor of a 25% relator’s share.” Br. 48 (citing Bryant, 24 F.4th 1024). The case relator

cites for this point, Bryant, did not address the factors warranting a higher relator share

and instead concerned relator’s right to recover attorney’s fees from the defendant.

Bryant, 24 F.4th at 1030. And in discussing the FCA’s qui tam provisions, Bryant

reiterated the proposition that formed the basis of the government’s opposition to

relator’s share motion in the first place: that “the FCA allows for the recovery of a

share of government proceeds if the government successfully litigates or settles a

claim that the relator originally brought.” Id. (emphasis added).

IV.    The district court erred in ordering the government to pay relator’s
       attorney’s fees.

       In our opening brief, we explained (at 30-32) that the FCA requires “[a]ll” of

the relator’s attorney’s fees to be “awarded against the defendant,” 31 U.S.C.

§ 3730(d)(1) (emphasis added), and that it expressly prohibits relators from recovering

attorney’s fees from the government. See id. § 3730(f). Relator fails to acknowledge

these provisions of the FCA, which plainly prohibit a relator from recovering

attorney’s fees from the government in a qui tam suit. Relator instead claims that “the

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Government’s brief never addresses the statutory basis for this award that [relator]

focused on below, which is 28 U.S.C. § 2412(b).” Br. 49. But relator did not seek

attorney’s fees below under section 2412(b). See ROA.23981-24002. The district

court ordered the government to pay relator’s attorney’s fees sua sponte and did not

invoke section 2412(b) in doing so. See ROA.24932. Relator invoked section 2412(b)

for the first time in a footnote in response to the government’s motion for

reconsideration, see ROA.25027 n.23, which is insufficient to preserve the argument

for appeal. See Lincoln General Ins. Co. v. De La Luz Garcia, 601 F. 3d 436, 442 (5th Cir.

2007) (“Generally speaking, we will not consider an issue raised for the first time in a

motion for reconsideration.”).

      In any event, section 2412(b) does not provide a basis for ordering the

government to pay relator’s attorney’s fees. That provision authorizes an award of

attorney’s fees against the government when it has “acted in bad faith, vexatiously,

wantonly, or for oppressive reasons.” Gate Guard Servs., L.P. v. Perez, 792 F. 3d 554,

559 (5th Cir. 2015) (quotation marks omitted). This Court has explained that “the

bad faith exception is very narrow” and is not an appropriate penalty for “maintaining

an aggressive litigation posture.” Id. at 561 (quotation marks omitted). At no point

did the district court find that the government engaged in any misconduct, let alone

the sort of bad faith conduct that could justify a fee award under section 2412(b).

Indeed, the government was not even adverse to relator until the very end of the case,


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when relator requested a share of the proceeds from the settlement of claims he did

not bring or in any way help to litigate.

       Relator is also wrong that the FCA “specifically says” that the government may

be ordered to pay relator’s fees under section 2412(b). Br. 52 (citing 31 U.S.C.

§ 3730(g)). Section 3730(g) refers to a different provision of EAJA, section 2412(d),

and states that it shall apply in determining the fees of the “prevailing defendant.” 31

U.S.C. § 3730(g) (emphasis added). Indeed, none of the cases cited by relator (at 52)

involve an award of a relator’s fees against the government under section 2412(b). See

Culbertson v. Berryhill, 139 S. Ct. 517, 521 (2019) (noting that the district court had

awarded fees under section 2412 in a case challenging the denial of social security

benefits); Gate Guard, 792 F.3d 554 (awarding fees under section 2412(b) to the

plaintiff in a lawsuit against the Department of Labor under the Fair Labor Standards

Act); United States ex rel. Smith v. Gilbert Realty Co., 34 F. Supp. 2d 527, 534 (E.D. Mich.

1998) (holding that monetary penalties could be imposed against the government in

the form of sanctions under Federal Rule of Civil Procedure 11). Because no statute

waives the government’s sovereign immunity from attorney’s fees claimed by a qui

tam relator in an FCA suit, the district court clearly erred in ordering the government

to pay relator’s attorney’s fees.




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V.     The motions panel correctly rejected relator’s argument that the
       government’s appeal is untimely.

       The motions panel correctly rejected relator’s argument (at 1-2, 31-32) that the

government’s appeal is untimely. See Order (June 6, 2023) (citing Bass v. U.S. Dep’t of

Agric., 211 F.3d 959, 962 (5th Cir. 2000) (per curiam)). Under Federal Rule of

Appellate Procedure 4(a)(1)(B), the government had to file its notice of appeal “within

60 days after entry of the judgment or order appealed from.” However, if any party

files any motion listed in Rule 4(a)(4)(A), including a motion to alter or amend the

judgment under Rule 59(e), “the time to file an appeal runs for all parties from the

entry of the order disposing of the last such remaining motion.” Fed. R. App. P.

4(a)(4)(A).

       Relator argues that the government’s motion for reconsideration did not extend

the deadline to file a notice of appeal because it was not a “motion to alter or amend

the judgment.” Br. 31. That is incorrect. While “[t]here is no motion for

‘reconsideration’ in the Federal Rules of Civil Procedure,” this Court has held that a

timely motion for reconsideration “is construed as a Rule 59(e) motion that suspends

the time for filing a notice of appeal.” Bass, 211 F.3d at 962 (citing Hamilton Plaintiffs v.

Williams Plaintiffs, 147 F.3d 367, 371 n.10 (5th Cir. 1998)).4


       4
        Although Bass noted that the motion for reconsideration must be filed “within
ten days” of the order being appealed, see 211 F.3d at 962, that case preceded the 2009
Amendments to the Federal Rules of Civil Procedure, which extended the time to file
a motion for reconsideration from 10 days to 28 days. See Fed. R. App. P.
                                                                           Continued on next page.
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      The government filed a timely motion for reconsideration of the district court’s

relator share order on February 21, 2023, which is construed as a Rule 59(e) motion

for purposes of extending the appeal window, see Bass, 211 F.3d at 962. The district

court entered its order denying reconsideration on March 16, 2023. ROA.25072.

“[The government’s] notice of appeal was therefore due sixty days from the date the

court entered its order denying the motion for reconsideration, or sixty days from

[March 16, 2023].” Bass, 211 F.3d at 962. The government’s notice of appeal, filed 60

days later on May 15, 2023, was thus timely. ROA.25931.

      Relator is wrong that this Court dismissed the government’s appeal “under

identical circumstances” in Dixie Sand & Gravel Co. v. Tennessee Valley Authority, 631

F.2d 73 (5th Cir. 1980). Br. 32. This Court dismissed the appeal in Dixie Sand

because the appellant filed two motions for reconsideration—one seeking

reconsideration of the judgment and another seeking reconsideration of the order

denying the original motion for reconsideration—and failed to appeal within “60 days

after the denial of [the] appellant’s first motion for reconsideration.” 631 F.2d at 74-

75 (emphasis added). This Court explained that the deadline to appeal ran from the

order denying the first motion for reconsideration rather than the second because a

contrary rule would allow a vexatious litigant to “extend the time for appeal virtually


4(a)(4)(A)(vi) advisory committee’s note to 2009 amendments. And, in any event, the
government filed its motion for reconsideration within 10 days of the district court’s
order.

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indefinitely by filing successive motions for reconsideration challenging each of the

grounds seriatim.” Id. at 75. Like the motions panel, this Court should reject relator’s

contention that the government’s appeal is untimely.




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                                   CONCLUSION

      For the foregoing reasons, the district court’s order awarding relator a share of

the settlement proceeds and directing the government to pay relator’s attorney’s fees

should be reversed. The Court should reject relator’s argument on cross-appeal that

relator’s share should be enlarged to $3,419,405.25, plus attorney’s fees.



                                                Respectfully submitted,

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October 2023




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                          CERTIFICATE OF SERVICE

      I hereby certify that on October 23, 2023, I electronically filed the foregoing

brief with the Clerk of the Court for the United States Court of Appeals for the Fifth

Circuit by using the appellate CM/ECF system. Service will be accomplished by the

appellate CM/ECF system.




                                                s/ Graham W. White
                                               Graham W. White
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                       CERTIFICATE OF COMPLIANCE

      This brief complies with the type-volume limit of Federal Rule of Appellate

Procedure 28.1(e)(2)(A) because it contains 7,065 words. This brief also complies

with the typeface and type-style requirements of Federal Rule of Appellate Procedure

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                                                 s/ Graham W. White
                                                Graham W. White
